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                                    UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF SOUTH CAROLINA
IN RE:                                                    CASE NO: 25-01384-JD
                                                          (CHAPTER 13)
Jacoueline Elizabeth Ard
Terry Frank Nicola                                        TRUSTEE'S NOTICE OF INTENT TO REQUEST
                                                          DISMISSAL OR CONVERSION AT CONFIRMATION
                                                          HEARING IF DOCUMENTS ARE NOT PROVIDED,
                            Debtors                       OR FOR FAILURE TO ATTEND MEETINGS OR
                                                          HEARINGS
NOTICE OF MOTION TO DISMISS OR CONVERT. The Chapter 13 Trustee has filed papers with the court to
dismiss or convert this Chapter 13 case at confirmation hearing if all documents are not timely provided .

Your rights may be affected. You should read these papers carefully and discuss them with your attorney , if
you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

The Chapter 13 Trustee hereby gives notice that the Debtors' failure to meet the requirements of the code may result
in the dismissal or conversion of the case at confirmation hearing:

Pursuant to 11 U.S.C. § 521 and 1308, Fed. R. Bankr. P. 1007, 3015(b) and 4002, certain information and
documentation (including, but not limited to, all Schedules and Statements, and a Chapter 13 Plan) are required to be
filed or provided to the Chapter 13 Trustee within the time periods prescribed therein , or the case dismissed or
converted after notice and hearing pursuant to 11 U.S.C. §1307(c) and Fed. R. Bankr. P. 1017(c).

Pursuant to 11 U.S.C. § 343, the Debtors are required to appear at the Meeting of Creditors , at the date and time
indicated in the “Notice of Chapter 13 Bankruptcy Case” issued by the Clerk of the Bankruptcy Court . Failure to
attend constitutes cause to dismiss or convert under 11 U.S.C. §1307(c).

Pursuant to 11 U.S.C. §1326(a)(1), the Debtors are required to commence making payments proposed by the plan to
the Trustee not later than 30 days after the petition for relief was filed . Pursuant to 11 U.S.C.§1307(c)(4), failure to
commence making timely payments is cause to dismiss or convert the case .

Certain additional information and documents have also been determined by the Court to be necessary to
consideration of the confirmation of a Chapter 13 plan . If the Chapter 13 Trustee has requested any of the
information/documents listed below at the 11 U.S.C. § 341 meeting, or at any time thereafter in writing, it must be
provided to the Trustee at least seven (7) days prior to the original confirmation hearing . It is the responsibility of the
Debtors to ensure that the required documents are provided to the Trustee (and filed, as necessary). These
documents include, but are not limited to, the following:

    1. A Modified Plan with service as required under SC LBR 3015-2 , as necessary to meet all Chambers
    Guidelines, Local Rules, Operating Orders, and/or the Bankruptcy Code.

    2.   Wage order statement or proof of TFS Billpay enrollment in compliance with Chambers Guidelines .

    3.   Proof that all payments pursuant to the plan have made through the date of confirmation .

    4.   The most recent real estate tax appraisals covering all parcels of debtor's real property .

    5.   Post-petition domestic support certificate signed and dated through the month of the confirmation hearing .

    6. The amount of the most recent year's income tax refund received by the Debtors , for both state and
    federal returns.
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    7.   Proof that all required income tax returns have been filed .

    8. Final, signed copies of the most recent year's federal and state income tax returns (including all attached
    schedules).

    9.   Amended Schedules if identified as necessary by the Trustee .

    10. Amended Statement of Financial Affairs if identified as necessary by the Trustee .

    11. Amended Petition or Your Statement About Your Social Security Numbers correcting the Debtors' name
    and/or social security number if identified as necessary by the Trustee .

    12. In any case involving a self-employed debtor , a completed self-employment questionnaire , business budget,
    and final, signed copies of the business's most recent year's federal and state income tax returns , including all
    attached schedules.

    13. Proof of charitable contributions made by the Debtors .

    14. An itemization of unreimbursed medical expenses .

    15. An itemization of a non-filing spouse's monthly expenses , including the balance owed on each debt.

    16. Copies of the Debtors' pay stubs and W-2 forms .

    17. Any other item not specified above which is reasonably related to the administration of the case and which
    the Trustee requested either orally at the 11 U.S.C § 341 meeting or in writing prior to the confimation hearing .

NOW, THEREFORE, pursuant to 11 U.S.C. §1307(c), the Chapter 13 Trustee hereby requests that the Court dismiss
or convert the case at confirmation hearing, scheduled by the clerk on June 25, 2025 at 10:00 am, or at any
continued confirmation hearing, without further notice, if the Debtors fails to provide and/or file documents as
above, or fails to attend meeting of creditors or any mandatory hearing . Failure to appear at the hearing may be
construed as a waiver of the right to object to the dismissal or conversion of the case .

Nothing in this Notice should be construed as a waiver of the Trustee’s right to file a separate motion to dismiss or
convert the case and set it for different hearing date .




Dated: April 16, 2025                                            /s/ James M. Wyman
                                                                 James Wyman, Trustee Dist Ct ID 5552
                                                                 Beth Renno, Staff Attorney Dist Ct ID 5627
                                                                 PO Box 997
                                                                 Mt. Pleasant, SC 29465-0997
                                                                 Phone: (843) 388-9844
                                                                 Fax: (843) 388-9877
                                                                 Email: 13info@charleston13.com
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                                CERTIFICATE OF SERVICE

I did this date serve the attached document(s) on the parties listed below by placing the same in
the United States mail with proper postage affixed thereto and addressed as follows:


Jacoueline Elizabeth Ard
Terry Frank Nicola
21215 Dartmouth Dr
Southfield, MI 48076




Date: April 16, 2025                               /s/ Russell Jackson II
                                                   PO Box 997
                                                   Mt. Pleasant, SC 29465-0997
                                                   Phone: (843) 388-9844
                                                   Fax: (843) 388-9877
                                                   Email: 13info@charleston13.com
